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UNITED STATES DISTRICT COURT
SOUTHE RN DISTRICT OF NEW YORK

AMERIC.'~\N INSURANCE COMPANY a/s/o Case No.: 07 CIV 8604
MARIAH CAREY, (WHP) (AJP)

Plaintiff,

 

-against-

CORN ASSOCIATES, LLC, THE FRANKLIN TOWER
CONDOMINIUM, KATZ METAL FABRICATORS, INC.,
OLYMPIC PLUMBING AND HEATING III CORP.,

And SAl\/§CO PLUMBING, INC.,

CERTIFICATION

Defend ants.

 

JARED T. GREISMAN, certifies as follows:

011 July 23, 2008, l directed service of a copy of the within documents upon all parties to
this actio:i via Electronic Court Filing (ECF), along with two courtesy copies which will be,
served by regular mail via United States Postal Services to Attorney for Plaintiff, Robert W.
Phelan, Esq., Cozen O’Connor, 45 Broadway - 16th Floor, New York, New York 10006,
Attorney for Co~Defendant Katz Metal Fabricators, Inc., Richard S. Kaye, Esq., Murphy &
Higgins, lsLP, One Radisson Plaza, New Rochelle, NY 10801. Courtesy copies will be mailed
via United States Postal Service, regular mail, to co-defendants Com Associates, LLC and
Samco Pl imbing, Inc.:

' Defendant The Franklin Tower Condominium’s Reply
Memorandum of Law in Support of Motion For Summarv ,]_u_dgment

The list o i` all parties is as follows:

Robert W. Phelan, Esq.
Cozen C ’Connor

(Attorne ys for Plaintiff
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Richard .`S. Kaye, Esq.
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(Attornej/s for Defendant

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New Rochelle, NY 10801
(914)7112-1100

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Defendant

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Samco Plumbing, lnc.
Defendani

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Long Islalld City, NY 11106

Dated: New York, New York
luly 23, 2008

Yours, etc.,
Respectfully submitted,

WHITE FLEISCHNER & FINO, LLP

,/
By: '/ v 7 // ‘

 

/ / Jared T. Greisman (JG-6983)
"' Attorneys for Defendant

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Our File No.: 179-13 lSO-PAF/JTG

